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  EXHIBIT C
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                                          U.S. Department of Justice
[Type text]
                                                    United States Attorney
Septe                                               Southern District of New York

                                                   The Silvio J. Mollo Building
                                                   One Saint Andrew’s Plaza
                                                   New York, New York 10007


                                                    September 26, 2019

BY EMAIL

Brian Heberling
Steptoe & Johnson, LLP
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        Re:   United States v. Ali Sadr Hashemi Nejad, 18 Cr. 224 (AJN)

Dear Mr. Heberling:

       We write in response to your letter, dated September 23, 2019, which asks a series of
questions concerning how the District Attorney’s Office (“DANY”) reviewed the emails it
obtained during this investigation.

        As you know, on April 5, 2018 and again on November 15, 2018, the Government
produced all of the emails in the Government’s possession from accounts controlled by the
defendant (the “Sadr Accounts”). On May 15, 2018, the Government produced 420 “hot doc”
emails, which were drawn from the Sadr Accounts and from accounts controlled by others (the
“non-Sadr Accounts”). While these emails were particularly incriminating and pertinent, the
Government did not represent that they were the only emails DANY had identified as responsive
to the search warrants. There were, in fact, other documents that DANY had identified as
responsive during its review of the search warrant returns, which occurred on a rolling basis (as
returns were received) from approximately May 2014 to early 2017 (the “Responsive
Documents”). The Responsive Documents, which consisted of 1,775 documents from the Sadr
Accounts and 622 documents from the non-Sadr Accounts, were saved by DANY in electronic
folders (the “Folders”) and printed into binders (the “Binders”) maintained by DANY.

        In the spring of 2019, DANY assigned a team of paralegals (separate from the trial team)
to pull the Responsive Documents from the Folders and Binders, remove duplicates, and identify
the documents from within the Relativity databases. The paralegals did not look for additional
responsive documents, or conduct any additional investigation.

        The paralegals then provided the U.S. Attorney’s Office’s filter team (the “Filter Team”)
with a disc containing the Responsive Documents, which were loaded into Relativity and produced
to the defendant. The Filter Team also provided an overlay that cross-referenced the Bates
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numbers for the Responsive Documents from the Sadr Accounts that had previously been provided
in discovery.

       To briefly address your specific questions:

       Question No. 1: Assistant District Attorneys, paralegals, and analysts from DANY (the
“DANY Reviewers”) conducted the review of the email search warrant returns. The DANY
Reviewers were involved in the investigation, participated in preparing and drafting the warrants,
reviewed the search warrant applications and orders, had several meetings and discussions about
reviewing the returns, and discussed and used search terms to identify responsive materials.

       Question No. 2: The review of emails for responsiveness was conducted, as returns were
received, from approximately May 2014 to early 2017. In June and July 2017, after the
responsiveness review had ended, DANY Reviewers selected the 420 “hot docs,” which were
saved into a binder that was later provided to the U.S. Attorney’s Office.

       Question No. 3: During the investigation, DANY executed approximately 18 search
warrants and obtained records from approximately 33 email and iCloud accounts. The first warrant
was issued in April 2014, and the last warrant was issued in April 2016. The review of the records
obtained pursuant to these warrants was conducted on a rolling and continuous basis. DANY
completed its responsiveness review of all email evidence in early 2017.

        Question No. 4: Since the time DANY completed its responsiveness review in early 2017,
no one from DANY, the U.S. Attorney’s Office, or the FBI has reviewed the email evidence to
identify any additional responsive material. As directed by Judge Carter, however, the Filter Team
has continued with its privilege review of the emails produced to the defense pursuant to Rule 16
of the Federal Rules of Criminal Procedure.

       Question No. 5: The Government is in the process of determining whether the Folders and
Binders remain in the same form as they were when the DANY Reviewers created them, and
whether they can be produced to the defense as such.

                                                      Respectfully submitted,
                                                      GEOFFREY S. BERMAN
                                                      United States Attorney

                                                by:         /s/
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                                                         Assistant United States Attorneys
                                                      Garrett Lynch
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